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‘S. DISTRICT CO
NORTHERN DISTRICT OF te
IN THE UNITED STATES DISTRICT COURT FIL XAS

AMARILLO DIVISION

UNITED STATES OF AMERICA § CLERC T
§ ERK, U.S. DISTRICT Co
Plaintiff, g jp By URT
§ Ta Deputy
v. § 2:20-CR-15-Z-BR-(13)
§
KRISTINA RENEE CHAPARRO §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On August 26, 2020, the United States Magistrate Judge issued a Report and Recommendation
Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant
Kristina Renee Chaparro filed no objections to the Report and Recommendation within the fourteen-
day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters
of record in the above referenced cause—including the elements of the offense, Factual Resume, Plea
Agreement, and Plea Agreement Supplement—and thereby determined that the Report and
Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by the
United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of Defendant
Kristina Renee Chaparro es knowingly and voluntarily entered; ACCEPTS the guilty plea of
Defendant Kristina Renee Chaparro; and ADJUDGES Defendant Kristina Renee Chaparro guilty of

Count Seventeen in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vili). Sentence will be

imposed in accordance with the Court’s sentencing scheduling order.

SO ORDERED, September //_, 2020.

 

MAZTHEW JJ KACSMARYK
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